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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
JOHN DOE,                                                                :
                                                                         :
                                         Plaintiff,                      :
                                                                         :
                          v.                                             :   Case No. 24-CV-07772 (JPO)
                                                                         :
SEAN COMBS, DADDY’S HOUSE                                                :   ORAL ARGUMENT REQUESTED
RECORDINGS INC., CE OPCO, LLC d/b/a                                      :
COMBS GLOBAL f/k/a COMBS ENTERPRISES :
LLC, BAD BOY ENTERTAINMENT HOLDINGS, :                                       NOTICE OF MOTION
INC., BAD BOY PRODUCTIONS HOLDINGS,                                      :
INC., BAD BOY BOOKS HOLDINGS, INC., BAD :
BOY RECORDS LLC, BAD BOY                                                 :
ENTERTAINMENT LLC, BAD BOY                                               :
PRODUCTIONS LLC, AND ORGANIZATIONAL :
DOES 1-10,

                                         Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


          PLEASE TAKE NOTICE that upon the accompanying memorandum of law, the

Declaration of Mark Cuccaro, dated March 11, 2025, the exhibit annexed thereto, and upon all

prior proceedings had in herein, Defendants Sean Combs, Daddy’s House Recordings Inc., CE

OpCo, LLC d/b/a Combs Global f/k/a Combs Enterprises, LLC, Bad Boy Entertainment Holdings,

Inc., Bad Boy Productions Holdings, Inc., Bad Boy Books Holdings, Inc., Bad Boy Entertainment

LLC, and Bad Boy Productions LLC (collectively, the “Combs Defendants,” and excluding Mr.

Combs, the “Company Defendants”) will move this Court, in accordance with Fed. R. Civ. P.

12(b)(6), before the Honorable J. Paul Oetken at the Thurgood Marshall United States Courthouse,

Courtroom 706, 40 Foley Square, New York, New York 10007, for an order dismissing with

prejudice: (1) Plaintiff’s Complaint (ECF #1) against the Company Defendants and (2) Plaintiff’s

claim under New York City’s Gender Motivated Violence Law against all Combs Defendants.
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Dated: March 11, 2025
       New York, New York


                                   SHER TREMONTE LLP

                                   /s/ Mark Cuccaro
                                   Mark Cuccaro
                                   Michael Tremonte
                                   Erica Wolff
                                   Raphael A. Friedman
                                   90 Broad Street, 23rd Floor
                                   New York, NY 10004
                                   (212) 202-2600
                                   mcuccaro@shertremonte.com
                                   mtremonte@shertremonte.com
                                   ewolff@shertremonte.com
                                   rfriedman@shertremonte.com
                                   Attorneys for Combs Defendants
